       Case 2:13-cr-00147-LDG-GWF             Document 191        Filed 04/18/16     Page 1 of 2



 1
 2
 3
 4
 5                                UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                  Case No. 2:13-cr-147-LDG-GWF
                                               )
10   vs.                                       )                  ORDER
                                               )
11   RANDY RULEY PHILLIPS,                     )                  Motion for Hearing (#188)
                                               )
12                     Defendant.              )
     __________________________________________)
13
14           This matter is before the Court on Defendant’s Motion for Hearing to Address Medical
15   Concerns (#188), filed on April 5, 2016. The Court conducted a hearing in this matter on April 18,
16   2016.
17           Defendant states that he suffers from multiple sclerosis and other illnesses or conditions. He
18   states that while housed in the Nevada Southern Detention Center, a detention center doctor
19   “prescribed” or authorized him to receive graviola, a non-prescription medication which was
20   successful in controlling his headache symptoms. That physician left the detention facility and a
21   new physician was assigned to oversee Defendant’s medications and other medical care. The new
22   physician stopped providing graviola and instead has prescribed gabapentin which is an anti-seizure
23   medication. Defendant states that his headaches are no longer under control since he ceased
24   receiving graviola. The gabapentin does not control his headaches. He also states that he has never
25   had seizures. Based on the Defendant’s representations,
26           IT IS HEREBY ORDERED that the Detention Center medical staff shall review
27   Defendant’s medication needs and shall either reinstate providing Defendant with graviola since that
28   reportedly controlled his headache symptoms, or shall provide a report to the Court explaining why
       Case 2:13-cr-00147-LDG-GWF            Document 191       Filed 04/18/16      Page 2 of 2



 1   the cessation of providing graviola to Defendant was a proper medical decision with respect to
 2   Defendant’s medical condition and needs. The status report is due on or before April 26, 2016.
 3          DATED this 18th day of April, 2016.
 4
 5                                                ______________________________________
                                                  GEORGE FOLEY, JR.
 6                                                United States Magistrate Judge
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      2
